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        August 11, 2022

        VIA ECF

        The Honorable Brian M. Cogan
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201

        Re: United States v. Rashid Sultan Rashid Al Malik Alshahhi, et al., 1:2l-cr-371 (BMC) (S-1)

        Dear Judge Cogan:

                We represent Thomas J. Barrack, Jr. in the above-referenced case. We write on behalf of
        Mr. Barrack and his co-defendant, Matthew Grimes, to request that Your Honor provide the
        Preliminary Instructions in Defendants’ Proposed Jury Instructions to the jury before opening
        arguments. (Dkt. 148 at 3-21). Defendants submit that this procedure will make the trial more
        efficient and will reduce the likelihood of juror confusion during trial.

                Courts in this Circuit have embraced providing substantive preliminary instructions to the
        jury before opening arguments. In particular, in United States v. Stein, 429 F. Supp. 2d 648
        (S.D.N.Y. 2006), Judge Kaplan explained: “It is only common sense to think that it would be
        helpful to the jurors to know at the outset of a long trial what they are going to be asked to decide
        at the end.” Id. at 649. As Stein also notes, the Benchbook for U.S. District Judges recommends
        giving jurors a summary of the applicable law at the outset of the case. Id. That summary states:
        “in order to help you follow the evidence, I will now give you a brief summary of the elements of
        the offense that the government must prove to make its case.” Benchbook for U.S. District Judges
        § 2.07, at 94 (Mar. 2013). Similarly, Stein notes, 429 F. Supp. 2d at 649-51, that the Federal
        Judicial Center’s Manual for Complex Litigation supports giving jurors a substantive, preliminary
        instruction. It explains:

                 Jurors can deal more effectively with the evidence in a lengthy trial if they are
                 provided with a factual and legal framework to give structure to what they see and
                 hear. . . . The instructions should summarize the key factual issues, including the
                 undisputed facts and the parties’ major contentions . . . and explain briefly the basic
                 legal issues and principles, such as the elements of claims and defenses to be
                 proved.

        Federal Judicial Ctr., Manual on Complex Litigation § 12.432 (4th ed. 2004).

                Numerous courts in this Circuit agree. See, e.g., United States v. Calk, 2021 WL 2887691,
        at *1 (S.D.N.Y. July 9, 2021) (“Before any jury trial, the Court delivers preliminary instructions


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  to the jury. As a general practice, the Court's preliminary instructions include a brief, substantive
  charge regarding the elements of the charges in criminal cases or claims in civil cases. Jurors are
  instructed that the preliminary instructions are designed to help them evaluate the evidence in light
  of what they will be asked to do after they have heard all the evidence.”); Andrews v. LeClaire,
  709 F. Supp. 2d 269, 276 (S.D.N.Y. 2010) (“Current studies, particularly those conducted as part
  of the Jury Trial Project of the New York State Unified Court System, have demonstrated the
  benefits of substantive preliminary instructions.”); see also, e.g., United States v. Hunt, 534 F.
  Supp. 3d 233, 260 (E.D.N.Y. 2021) (noting that, “[i]n some cases, particularly where trial is
  expected to be lengthy and complex, courts have found it appropriate to give substantive
  preliminary jury instructions,” but finding such instructions not required in relatively simple case).

          Scholars, like the jurists just discussed, have found that earlier instructions better serve the
  interest of justice. See Chalmers James & Leverick Fiona, Methods of Conveying Information to
  Jurors: An Evidence Review 30 (2018) (explaining that one study found that jurors’ comprehension
  of the legal issues in the case was “significantly better” for “jurors who had been both pre- and
  post-instructed” rather than those who only received instructions at the end of the case). And
  “[t]here is no evidence that [pre-instruction] causes jurors to decide cases prematurely.” Id. at 27.
  “The one point upon which all researchers are agreed is that repeating the instructions two or more
  times aids comprehension and improves the accuracy of verdicts.” J. Alexander Tanford, The Law
  and Psychology of Jury Instructions, 69 Neb. L. Rev. 71, 84 (1990).

          Here, the jury will benefit from receiving a substantive preliminary instruction because of
  the complicated nature of this case. The Superseding Indictment is more than 50 pages long,
  charges multiple defendants on nine counts over a period of several years, and involves high-
  ranking government officials in countries around the world. And some of the charges brought
  against the defendants are brought under 18 U.S.C. § 951, under which the government has
  historically brought vanishingly few cases. The government itself has acknowledged that “the
  government believes it’s a complex case.” 9/2/21 Tr. 11:9; see also 5/24/22 Tr. 14:16-18
  (government noting the “scale, size and complexity” of this case).

          Even to the most sophisticated federal prosecutors in the country, the ambit of Section 951
  is not always clear. In fact, the Office of the Inspector General of the Department of Justice
  concluded that many prosecutors and law enforcement confuse Section 951 charges with Foreign
  Agents Registration Act (“FARA”) charges. See U.S. Dep’t of Just. OIG, Audit of the National
  Security Division’s Enforcement and Administration of the Foreign Agents Registration Act
  (2016). Many news reports about Mr. Barrack’s indictment also attempted to explain the
  difference between Section 951 and FARA as they are commonly confused. See, e.g., Christina
  Wilkie, Trump Ally Tom Barrack’s Criminal Case Isn’t Really About Lobbying – It’s About
  National Security, CNBC (2021) (explaining the difference and common confusion between
  FARA charges and 18 U.S.C. § 951); see also Sarah Mimms, Yet Another One Of Trump’s Pals
  Didn’t Register As A Foreign Agent And Got Arrested, BuzzFeed News (2021) (clarifying that
  Barrack charges did not include a FARA charge). By briefly instructing the jury before opening
  arguments, the jury will be better equipped to evaluate all the evidence presented to it.




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         Thus, Mr. Barrack and Mr. Grimes respectfully request that the Court exercise its discretion
  provide the Preliminary Instructions in Defendants’ Proposed Jury Instructions to the jury before
  opening arguments.


  Sincerely,

  WILLKIE FARR & GALLAGHER LLP                                WINSTON & STRAWN LLP

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